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                         Exhibit A
                      Proposed Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )    Chapter 11
                                                                     )
    YELLOW CORPORATION, et al., 1                                    )    Case No. 23-11069 (CTG)
                                                                     )
                             Debtors.                                )    (Jointly Administered)
                                                                     )
                                                                     )    Re: Docket No. __

                             ORDER AUTHORIZING
              THE ABANDONMENT AND DESTRUCTION OF DIGITAL RECORDS
             Upon the motion (the “Motion”) 2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”) authorizing the Debtors to

Abandon and Destroy Digital Records, all as more fully set forth in the Motion; and upon the First

Day Declaration; and the district court having jurisdiction under 28 U.S.C. § 1334, which was

referred to this Court under 28 U.S.C. § 157 pursuant to the Amended Standing Order of Reference

from the United States District Court for the District of Delaware, dated February 29, 2012; and

this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this

Court having found that this Court may enter a final order consistent with Article III of the United

States Constitution; and this Court having found that venue of this proceeding and the Motion in

this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

the relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties in interest; and this Court having found that the Debtors’ notice of the Motion and



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing, if any, before this Court (the “Hearing”); and this Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted as set forth herein.

       2.      The Debtors are hereby authorized, but not directed, to destroy, or cause to be

destroyed, the Mailboxes as provided in the Motion.

       3.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted herein, including, without limitation, to satisfy any obligations arising from or related to

the destruction of the Mailboxes.

       4.      Notwithstanding anything to the contrary in the Bankruptcy Code, Bankruptcy

Rules or Local Rules, this Order shall be immediately effective and enforceable upon entry.

       5.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

       6.      The requirements of Rule 6007(a) of the Federal Rules of Bankruptcy Procedure

that the Motion be served upon “all creditors” is hereby waived, and service upon the parties

described in the Motion is found to be sufficient for the purposes of the relief requested in the

Motion.

       7.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.




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       8.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




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                         Schedule 1

              List of Mailboxes to be Destroyed
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411essendant@yrcfreight.com
683appts@yrcfreight.com
783essendant@yrcfreight.com
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830TrainingRoom@YRCFreight.com
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as400reports@newpenn.com
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carotrans@newpenn.com
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casesupport@newpenn.com
Chuck.Augustine@myyellow.com
Chuck.Beattie@myyellow.com
Claimspics@newpenn.com
CollectorAppreciation@yellowcorp.com
Conyers.Joel@myyellow.com
CSAT@yrcfreight.com
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D10@yrcfreight.com
D13@yrcfreight.com
D14@yrcfreight.com
D3@yrcfreight.com
D4@yrcfreight.com
D5@yrcfreight.com
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D7@yrcfreight.com
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HRISReport.Request2@YRCFreight.com
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ywtest20.Wright@YRCFreight.com
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ywtest14.Wright@YRCFreight.com
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